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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION



JAMES ALEXANDER LOGAN,
      Plaintiff,

v.                                                  Case No. 3:20cv6007-LC-HTC

CAPTAIN J SCHROCK, et al.,

      Defendants.
______________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on December

28, 2020 (ECF No. 5), recommending dismissal based on Plaintiff’s status as a

three-striker under 28 U.S.C. § 1915(g) and Plaintiff’s failure to pay the filing fee

at the time he initiated this action. The parties were furnished a copy of the Report

and Recommendation and afforded an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1).

      Having considered the Report and Recommendation, and conducted a de

novo review of the timely filed objections thereto, I have determined the Report

and Recommendation should be adopted.




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      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 5) is

adopted and incorporated by reference in this order.

      2.     This case is DISMISSED WITHOUT PREJUDICE because Plaintiff

is a three-striker under 28 U.S.C. § 1915(g) and has failed to pay the filing fee.

      3.     The clerk of court is directed to close this case.

      DONE AND ORDERED this 11th day of January 2021.



                                  s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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